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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                         Case No. 0:20-cv-60759-RAR


  JAMES NEVIS, an individual,
  KELEA NEVIS, an individual,

            Plaintiffs,

  v.

  COSTA CROCIERE S.P.A., COSTA
  CRUISE LINES, INC., and DOES
  1 to 50,

        Defendants.
  _______________________________/

                  DEFENDANTS’ NOTICE OF RELATED OR SIMILAR ACTION

            Defendants, pursuant to this S.D. Fla. L. R. 3.8, notify the Court that an action arising out

  of the same subject matter as has been filed in the Southern District of Florida:

            Paul Turner, on his own behalf and on behalf of all other similarly situated
            passengers aboard the Costa Luminosa, v. Costa Crociere S.p.A. and Costa Cruise
            Lines Inc., Case No. 20-cv-21481-KMM (S.D. Florida) [ECF 1]. A copy of the
            complaint is attached.
  Pursuant to the above-referenced Local Rule, the foregoing constitutes a similar action filed prior

  to this one and is based on the same subject matter. The same or highly similar legal issues are

  pending before that court.

  Dated: July 21, 2020
        Miami, Florida
                                                      Respectfully submitted,

                                              By: /s/ Catherine J. MacIvor
                                                      Jeffrey E. Foreman
                                                      Florida Bar No. 240310
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                                                   Attorneys for Defendants

                                     CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that the foregoing was electronically filed with the Clerk of the Court

  via CM/ECF on July 21, 2020. I also certify that the foregoing was served on all counsel or parties

  of record on the attached Service List either via transmission of Notices of Electronic Filing

  generated by CM/ECF or in some other authorized manner for those counsel or parties who are not

  authorized to receive electronic Notices of Filing.

                                           By: /s/ Catherine J. MacIvor
                                                   Catherine J. MacIvor




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                                             SERVICE LIST
                      Nevis v. Costa Crociere S.P.A. and Costa Cruise Lines, Inc.
                                          20-cv-60759-Ruiz

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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                                    Case No.

  Paul Turner, on his own behalf
  and on behalf of all other
  similarly situated passengers
  aboard the Costa Luminosa,

         Plaintiffs,
  v.                                                                CLASS ACTION

  COSTA CROCIERE S.P.A., and
  COSTA CRUISE LINES INC.,

        Defendant.
  _________________________________/

                           COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiff, Paul Turner, on his own behalf, and on behalf of all other similarly situated

  passengers aboard the Costa Luminosa, hereby sues Defendants, COSTA CROCIERE S.P.A., and

  COSTA CRUISE LINES INC., and for good cause alleges:

                                    JURISDICTION AND PARTIES

  1.     Plaintiff, Paul Turner, is sui juris, is a resident of Wisconsin and citizen of the United States.

  2.     Defendant COSTA CROCIERE S.P.A. is a corporation incorporated under the laws of

  Italy having its principal place of business in Genoa, Italy, and doing business in Florida at 880

  SW 145th Ave, Suite 102 Pembroke Pines, FL 33027.

  3.     Defendant COSTA CRUISE LINES INC. is a United States corporation having its

  principal place of business in Pembroke Pines, Florida. Defendant COSTA CRUISE LINES INC.

  is a wholly owned subsidiary of COSTA CROCIERE S.P.A.

  4.     Defendants, COSTA CROCIERE S.P.A. and COSTA CRUISE LINES INC. are

  collectively referred to as “Costa.”

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  5.     The matter in controversy exceeds the required amount, exclusive of interest and costs, and

  is a class action brought under this Honorable Court’s jurisdiction pursuant to 28 U.S.C. §

  1332(d)(2). In the event that class status is not certified, then this matter is brought under the

  admiralty and maritime jurisdiction of this Honorable Court.

  6.     Defendant, Costa, at all times material, personally or through an agent;

             a. Operated, conducted, engaged in or carried on a business venture in this state and/or

                 county or had an office or agency in this state and/or county;

             b. Was engaged in substantial activity within this state;

             c. Operated vessels in the waters of this state;

             d. Committed one or more of the acts stated in Florida Statutes, Sections 48.081,

                 48.181 or 48.193;

             e. The acts of Defendant set out in this Complaint occurred in whole or in part in this

                 county and/or state.

             f. The Defendant was engaged in the business of providing to the public and to the

                 Plaintiff in particular, for compensation, vacation cruises aboard the vessel, Costa

                 Luminosa.

  7.     Defendant is subject to the jurisdiction of the Courts of this state.

  8.     The causes of action asserted in this Complaint arise under the General Maritime Law of

  the United States.

  9.     At all times material hereto, Defendant owned, operated, managed, maintained and/or

  controlled the vessel, Costa Luminosa.




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     10. Defendant Costa’s Passage Ticket Contract contains a contractual provision which

        attempts to limit its passengers’ rights by forcing them to file their claims against Costa in

        the courts of Genoa, Italy. This forum selection clause is void and/or invalid as it is

        fundamentally unfair under the circumstances for the following reasons:

            a. Said provision is in violation of 46 U.S.C. §30509 (a)(1)(B), which states: “(a)

                Prohibition.— (1) In general.—The owner, master, manager, or agent of a vessel

                transporting passengers between ports in the United States, or between a port in the

                United States and a port in a foreign country, may not include in a regulation or

                contract a provision limiting — (B) the right of a claimant for personal injury or

                death to a trial by court of competent jurisdiction.” Here, the subject voyages

                transported passengers between a port in the United States and a port in a foreign

                country, statutorily barring the application limiting the right of a claimant for

                personal injury or death to a trial by this court – a court of competent jurisdiction.

            b. Additionally, said provision does not apply to Plaintiff’s claim that Costa failed to

                warn Plaintiff Paul Turner and all others similarly situated, that a passenger on a

                prior voyage was disembarked due to symptoms of the coronavirus because such

                negligence occurred before Plaintiff and all others similarly situated boarded the

                vessel on March 5, 2020 (the sailing date). Costa’s own Passage Ticket Contract

                expressly states “[the Contract] is valid only for the Vessel, the accommodations

                and the sailing date specified herein.”

            c. Furthermore, this forum selection clause is void and/or invalid because itis

                fundamentally unfair to require Plaintiff and others similarly situated aboard the

                Costa Luminosa to file their claims in Genoa, Italy. See Krenkel v. Kerzner Int'l


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                 Hotels Ltd., 579 F.3d 1279, 1281 (11th Cir. 2009). This proposed Class of persons

                 includes numerous passengers from the United States who boarded the subject

                 voyage in Florida. It is fundamentally unfair to force these persons to bring their

                 claim(s) in Italy. This argument is strengthened by the fact that Genoa, Italy is on

                 a national lockdown—closed for all nonessential business, including hotels—and

                 is one of the epicenters of the coronavirus global pandemic. Flights to Italy have

                 been cancelled by numerous major airlines. It would be unduly inconvenient and

                 fundamentally unfair to require Plaintiff and others similarly situated, suffering

                 from the dangerous coronavirus, to travel across the world and into an area where

                 hospitals are overrun and unable to care for their own citizens due to the

                 Coronavirus outbreak. Accordingly, the forum selection clause should be

                 invalidated as Plaintiff and others similarly situated would be deprived of their day

                 in court because of inconvenience and unfairness. See Lipcon v. Underwriters at

                 Lloyd’s, London, 148 F.3d 1285, 1296 (11th Cir. 1998).

                  GENERAL ALLEGATIONS COMMON TO ALL COUNTS

  11.    This Class Action lawsuit involves Defendant Costa’s (a) knowing and intentional decision

  to proceed with a transatlantic 20-day cruise on March 5, 2020, knowing at least one of its

  passengers from the prior voyage who disembarked February 29, 2020 had symptoms of

  coronavirus; (b) knowing and intentional decision to conceal from passengers that a passenger on

  the Costa Luminosa had symptoms of coronavirus that necessitated a medical evacuation; and (c)

  knowing and intentional decision to wait two days to order passengers to isolate in their staterooms

  after being informed that the passenger who disembarked in Puerto Rico with symptoms of

  coronavirus tested positive for such. In so doing, Costa subjected over 2,000 passengers to the


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  highly contagious coronavirus, and exposing passengers to actual risk of immediate physical injury

  and death.

           Factual Allegations Surrounding the Cruise Industry and the Coronavirus

  12.    In the recent months, there has been a worldwide outbreak of a new virus, the coronavirus,

  also known as COVID-19. The virus originated in China, and quickly spread throughout Asia,

  Europe, and most recently, North America. The coronavirus commonly causes fevers, a dry cough,

  shortness of breath, and can be fatal. There have been over one million cases worldwide and over

  seventy thousand deaths as a result of the coronavirus. Those fatalities have largely been amongst

  the elderly population, and those with underling medical complications.

  13.    Costa and the cruise industry got an early warning of how easily the virus could spread on

  its massive ocean liners when the first cases emerged on the Diamond Princess, owned by Princess

  Cruise Lines (“Princess”), which is owned by Carnival Corporation, like Costa, in early

  February 2020 in Yokohama Harbor. The outbreak began with ten cases, and rapidly multiplied

  to seven hundred cases, as a result of the flawed two week quarantine on the ship. The Center for

  Disease Control (CDC) issued a statement on February 18, 2020 that “the rate of new reports of

  positives new on board [the Diamond Princess], especially among those without symptoms,

  highlights the high burden of infection on the ship and potential for ongoing risk.” Seven of the

  Diamond Princess’ passengers died as a result of COVID-19.

  14.    Costa and the cruise industry got another warning of how severe the virus could spread on

  cruise ships when the Grand Princess, owned by Princess, had a breakout in late February 2020

  off the coast of California. Princess had knowledge that at least one of its passengers from a prior

  voyage who disembarked February 21, 2020, had symptoms of coronavirus, and yet it made the

  conscious decision to proceed with the voyage that began on February 21, 2020, with another three


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  thousand passengers on an infected ship. Prior to boarding the February 21, 2020 voyage on the

  Grand Princess, passengers were simply asked to fill out a piece of paper confirming they were

  not sick. Not one passenger was questioned, let alone examined in any capacity. As a result of

  Princess’ lackadaisical approach to the safety of passengers and crew, 103 passengers tested

  positive for the coronavirus and two people have died so far.

  15.     It would only stand to reason, that knowing of these prior traumatic outbreaks on two of its

  sister company’s vessels less than a month prior to the subject voyage on the Costa Luminosa, that

  Costa would have learned to take all necessary precautions to keep its passengers, crew and the

  general public safe. This likely would have meant that the voyage, in its entirety, would have been

  cancelled (notably the entire global cruise industry was suspended roughly one week after the

  Costa Luminosa sailing). Despite knowing full well of the tremendous risk faced by all the

  passengers (and crew) aboard, Defendant Costa set sail. For this reason and those further stated

  herein, Plaintiff and others similarly situated have contracted the coronavirus and/or are now at

  an actual risk of immediate physical injury and death proximately caused by Defendant Costa’s

  negligence.

        Factual Allegations Surrounding the Coronavirus Outbreak on the Costa Luminosa
                                            Voyages

  16.     On February 24, 2020, passengers embarked on the Costa Luminosa in Fort Lauderdale,

  Florida, which for some passengers would be a 30-day cruises with the Costa Luminosa returning

  to Fort Lauderdale, Florida on March 5, 2020.

  17.     On February 29, 2020, a 68-year-old Italian passenger was evacuated from the Costa

  Luminosa in the Cayman Islands following symptoms of the coronavirus and a stroke. This

  passenger tested positive for the coronavirus and eventually died as a result.



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   18.    On March 4, 2020, at 8:45PM, the night before the Costa Luminosa was set to sail for

   another cruise, Costa sent the below email to prospective passengers, informing them that the alert

   level for COVID-19 declared by the World Health Organization had been raised leading to the

   health authorities of some countries to further increase their precautionary measures by introducing

   a series of bans on entry into their territories; and as a result Costa “remains in constant contact

   with all the local authorities of the countries called by its vessels . . . to allow Costa to make the

   most appropriate decisions and put in place the most adequate measures to be sure that the highest

   level of safety for its guests and crewmembers are met.” As such, Costa represented to its

   passengers that it was holding itself to the highest standard of care for passengers based on the

   COVID-19 pandemic. A copy of such email is shown below:




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   19.    On March 5, 2020, in the morning, the Costa Luminosa arrived back in Fort Lauderdale,

   Florida from its previous voyage—the same voyage where the 68-yeard-old Italian Passenger was

   evacuated due to symptoms of the coronavirus. Within just a few hours, Costa allowed new

   passengers to board the ship without adequately sanitizing the Costa Luminosa, including, but not

   limited to, incorporating UV lights into the filtration systems and/or antimicrobial sanitizing

   equipment. In addition, Costa did not have a third-party indoor environmental professional verify

   that common use areas and surfaces of the vessel were reasonable safe for passengers and/or

   crewmembers.

   20.    Before boarding the Costa Luminosa on March 5, 2020, passengers contacted Costa over

   their concerns of the vessel’s safety surrounding the coronavirus. Costa assured passengers its

   vessel was not affected by the coronavirus, was safe, and that there was no need for concern. In

   addition, Costa instructed passengers that they would not be reimbursed if they cancelled their

   March 5, 2020 voyage on the Costa Luminosa.

   21.    Relying on Costa’s assurances, passengers embarked on the Costa Luminosa on March 5,

   2020 for a transatlantic cruise. Puerto Rico was scheduled to be the first port-of-call on March 8,

   2020, before the Costa Luminosa would sail across the Atlantic Ocean for seven days. However,

   Costa failed to inform passengers at any time prior to boarding and/or while they were on board

   the Costa Luminosa that there was a significantly increased risk of exposure to COVID-19. If

   passengers were made aware of this significantly increased risk of exposure prior to boarding the

   ship in Fort Lauderdale, Florida, they would have never boarded the Costa Luminosa, and/or never

   contracted COVID-19.

   22.    In late 2019, the CDC published the Interim Guidance for Ships on Managing Suspected

   Coronavirus Disease 2019, which provided guidance for ships, including cruise ships, originating


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   from, or stopping in, the United States to help prevent, detect, and medically manage suspected

   COVID-19 infections. In regards to managing sick passengers or crew when boarding and

   onboard, the CDC states: “Deny boarding of a passenger or crew member who is suspected to have

   COVID-19 infection based on signs and symptoms plus travel history in China or other known

   exposure at the time of embarkation.” See Centers for Disease Control and Prevention, Interim

   Guidance for Ships on Managing Suspected Coronavirus Disease 2019, (last updated February

   18, 2020) https://www.cdc.gov/quarantine/maritime/recommendations-for-ships.html.

   23.      Before boarding the Costa Luminosa, Costa failed to deny boarding to passengers and/or

   crewmembers who showed symptoms of the coronavirus and/or travel history in China or other

   known exposure at the time of embarkation, including but not limited to, Japan, Italy, and South

   Korea.

   24.      During the boarding process on March 5, 2020, Costa had non-medical professionals

   determine whether prospective passengers were medically fit to board based on a prospective

   passenger’s answers to whether they were sick and/or experiencing symptoms of the coronavirus.

   25.      During the voyage, as should have been anticipated, a coronavirus outbreak occurred on

   the Costa Luminosa. The outbreak was considered so severe that the Costa Luminosa was denied

   entry to multiple different ports-of-call by the government of the respective countries due to how

   contagious, novel, and deadly the coronavirus is.

   26.      On March 8, 2020, the Costa Luminosa docked in Puerto Rico, and an elderly Italian couple

   was rushed from the vessel to a hospital on shore in Puerto Rico due to symptoms of the

   coronavirus. This elderly couple came from, and were residents of, northern Italy where the

   coronavirus outbreak in Italy initiated and where it escalated the worst in Italy. The coronavirus

   outbreak necessitated a total lockdown in Italy the same day the elderly couple was rushed to the


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   hospital upon arriving in Puerto Rico with symptoms of the coronavirus. Costa, either knowingly

   or negligently, failed to inform passengers that a passenger disembarked in Puerto Rico as a result

   of the coronavirus.

   27.     Remarkably, on this same, March 8, 2020, the CDC expressly warned “U.S. citizens,

   particularly travelers with underlying health conditions, should not travel by cruise ship.”

   Passengers aboard the vessel were not advised of this warning and were not given an opportunity

   to leave the ship. Instead, they were dragged across the Atlantic in a ticking coronavirus time

   bomb.

   28.     Before arriving in Antigua, the Costa Luminosa’s next scheduled port-of-call, the Costa

   Luminosa was denied entry due to concerns of the coronavirus after Costa submitted its Maritime

   Health details—concerning passenger and crewmember’s health status—to the government of

   Antigua and Barbuda.

   29.     If passengers were made aware of this significantly increased risk of exposure prior to

   leaving Puerto Rico, they would of disembarked the Costa Luminosa in Puerto Rico on March 8,

   2020. Instead, passengers were trapped on the vessel, and at an actual and significantly increased

   risk of exposure to the coronavirus, while it sailed across the Atlantic Ocean for seven days.

   30.     Costa knowingly and intentionally decided to sail the Costa Luminosa across the Atlantic

   Ocean for seven days to the Canary Islands, knowing at least two passengers who disembarked its

   ship had symptoms of the coronavirus.

   31.     During its transatlantic sailing from Puerto Rico to the Canary Islands, Costa was informed

   that the man who disembarked the vessel on February 29, 2020, with symptoms of the coronavirus

   had tested positive for the coronavirus. In addition, Costa was informed that the elderly couple

   with symptoms of the coronavirus who disembarked in Puerto Rico on March 8, 2020, tested


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   positive for coronavirus. Costa waited nearly a day to inform passengers that the aforementioned

   passengers tested positive for the coronavirus. During and after this revelation, Costa did not

   instruct passengers to isolate and/or quarantine to avoid the known and significant actual risk of

   contracting the coronavirus as passengers were allowed unfettered access to the pools, gym, and

   buffets the entire time, which further put passengers at an actual risk of exposure to coronavirus.

   Costa’s actions and/or omissions were in direct violation of CDC guidelines for Ships on

   Managing Suspected Coronavirus Disease 2019, revised on February 18, 2020. Again, Costa failed

   to inform passengers that there was a significantly increased and actual risk of exposure to

   coronavirus on board the vessel.

   32.    In regards to managing passengers and crew after exposure, the CDC guidelines for Ships

   on Managing Suspected Coronavirus Disease 2019 states:

         “Passengers and crewmembers who have had high-risk exposures to a person
         suspected of having COVID-19 should be quarantined in their cabins. All
         potentially exposed passengers, cruise ship medical staff, and crew members should
         self-monitor under supervision of ship medical staff or telemedicine providers until
         14 days after the last possible exposure.”
    See Centers for Disease Control and Prevention, Interim Guidance for Ships on Managing

    Suspected     Coronavirus       Disease       2019,        (last   updated   February       18,   2020)

    https://www.cdc.gov/quarantine/maritime/recommendations-for-ships.html.

   33.    Costa falsely assured passengers on the Costa Luminosa that the vessel was “equipped with

   medical facilities with dedicated staff, available 24 hours a day,” in a letter sent provided to

   passengers in their stateroom on March 9, 2020. However, Plaintiff Paul Turner and other

   passengers went to visit the ship’s medical facility only to find out it was only open between

   8:30AM to 11:00AM, and 5:00PM to 8:00PM. As a result, Plaintiff and others similarly situated

   reasonably feared the vessel would not be able to handle medical issues as they arose, and certainly

   not able to handle the outbreak of the coronavirus onboard.
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   34.    On March 13, 2020, the Governor of Puerto Rico confirmed its first coronavirus cases,

   which were the Italian couple who disembarked the Costa Luminosa on March 8, 2020. See The

   Associated Press, Puerto Rico Announces its First Confirmed Coronavirus Cases, ABC NEWS,

   (published March 13, 2020), https://abcnews.go.com/Health/wireStory/puerto-rico-announces-

   confirmed-coronavirus-cases-69593953.

   35.    However, Costa waited nearly a whole day before informing passengers that the

   couple who disembarked in Puerto Rico tested positive for COVID-19. On March 14, 2020, at

   around 11:50PM, Costa slid the following letter under passenger’s stateroom doors:




   Photograph courtesy of Costa Luminosa passenger, Emilio Hernandez.




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   36.    During the voyage, Costa concealed information surrounding the coronavirus from

   passengers by blocking out news channels on stateroom TVs that had previously been available to

   passengers during the beginning of the cruise. Remarkably, media outlets were reporting about

   the coronavirus issues on the Costa Luminosa before Costa was informing its passengers.

   37.    During the voyage, on or about March 13, 2020, and while aboard the Costa Luminosa,

   additional passengers became severely ill with symptoms of the coronavirus, which was observed

   by crewmember(s).

   38.    Costa failed to recognize the seriousness of the medical condition of the passengers

   showing symptoms of the coronavirus. Costa did not instruct passengers and/or crew members

   who had exposures to a person suspected of having COVID-19 and/or tested positive for COVID-

   19 to quarantine in their cabins as to avoid the known and significant actual risk of contracting the

   coronavirus because passengers were allowed unfettered access to the pools, gym, and buffets the

   entire time, which further put passengers at an actual risk of exposure to coronavirus. These actions

   and/or omissions by Costa were in direct violation of CDC guidelines for Ships on Managing

   Suspected Coronavirus Disease 2019, revised on February 18, 2020.

   39.    On March 15, 2020, the Costa Luminosa arrived in the Canary Islands to unload three more

   passengers with symptoms of the coronavirus, However, Costa did not allow other passengers off

   the vessel. This was the first day the crewmembers of the Costa Luminosa began wearing napkins

   over their mouths and using napkins to grab plates to deliver food into passenger’s staterooms.

   Again, Costa did not inform and/or warn passengers that passengers on board the same voyage

   tested positive for the coronavirus.




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   40.    Finally, on the evening of March 15, 2020, the captain of the Costa Luminosa requested

   passengers to remain isolated in their staterooms. Costa’s decision to recommend passengers to

   isolate in their cabin came two days after Costa was aware that the passenger who disembarked

   with symptoms of the coronavirus in Puerto Rico on March 8, 2020 tested positive for the

   coronavirus. The March 15, 2020 letter is shown below:




   41.    On March 16, 2020, the captain of the Costa Luminosa advised passengers they would be

   forced to quarantine for the remainder of the cruise due to the outbreak on board the Costa

   Luminosa:




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   42.    On March 19, 2020, the Costa Luminosa was allowed entry in Marseille, France to allow

   for disembarkation of passengers. When passengers were instructed to leave their staterooms to

   meet at disembarkation areas aboard the vessel for further directions, they were not provided with

   any protective equipment, such as adequate masks or gloves, and not directed to stay further than

   six feet apart, which further put passengers at an actual, heightened risk of exposure to the

   coronavirus. During the disembarkation process in Marseille, France, passengers, bunched in tight

   groups, were unloaded off the vessel and onto buses and held for hours before flights were arranged

   for passengers based on their country of residence. At this point, thirty-six of the seventy-five

   passengers tested positive for COVID-19.

   43.    As a result of Defendant Costa’s grossly negligent approach to the safety of the passengers

   on board the Costa Luminosa, its passengers and crew aboard the Costa Luminosa were at an actual

   risk of immediate physical injury and death.

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   44.    Consequently, thousands of passengers on the Costa Luminosa were subjected to the risk

   of contracting the highly contagious coronavirus as a result of Defendant Costa’s failure to warn

   passengers at any time prior to boarding or while they were already onboard that there were other

   passengers with symptoms of the coronavirus, and Defendant Costa’s grossly negligent approach

   to the safety of the passengers.

   45.    As a result of Costa’s actions and/or omissions, Plaintiff and others similarly situated were

   consequently forced to board a plane where they were further exposed to an actual risk of physical

   injury and forced to quarantine for over two weeks, some of which had high fevers, dry coughs,

   shortness of breath, and a serious risk of imminent death– all of which could have been easily

   avoided if simply given the choice to stay at home and reschedule the cruise and/or cancelled the

   subject cruise and/or implemented reasonable policies and procedures to prevent the spread of the

   highly contagious coronavirus.

   46.    Costa’s negligent misconduct was predicated on a profit motive because, simply put, cruise

   lines like Costa make no money when passengers don’t sail. Defendant Costa’s knowing,

   intentional and reckless conduct subjects Costa to the imposition of punitive damages. This

   voyage set sail knowing it was a virtual certainty that there would be an outbreak, similar, if not

   identical, to those which two Princess ships had already very publicly faced. This callous disregard

   for the safety and well-being of its passengers must be answered for.

   47.    To this precise point, Katelyn Gostic, a University of Chicago epidemiologist, stated the

   following on Costa’s response with regards to the voyage(s) aboard the Costa Luminosa: “The

   cruise ship response was definitely lagging behind expert opinion on how big the risks are… It

   was sluggish decision-making, and they should have responded earlier.” See Beth Reinhard,

   Rosalind S. Helderman, Faiz Siddiqui, and Mark Berman, Cruise Ships Kept Sailing As


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   Coronavirus Spread. Travelers and Health Experts Question Why, WASHINGTON POST, (last

   updated March 20, 2020), https://www.washingtonpost.com/politics/cruise-ships-kept-sailing-as-

   coronavirus-spread-travelers-and-health-experts-question-why/2020/03/20/5b640f14-67e2-11ea-

   b5f1-a5a804158597_story.html.

   48.    Each and all of the foregoing conditions, including but not limited to, the actual risk of

   exposure to the coronavirus, were known to Costa prior to the time the Costa Luminosa set for sail

   on its voyage on March 5, 2020, and prior to leaving Puerto Rico on March 8, 2020, with Paul

   Turner and all other passengers similarly situated. Defendant Costa subjected over 2,000

   passengers to the highly contagious coronavirus, and exposed passengers to actual risk of

   immediate physical injury and death due to its (a) knowing and intentional decision to proceed

   with a transatlantic 20-day cruise on March 5, 2020, knowing at least one of its passengers from

   the prior voyage who disembarked February 29, 2020 had symptoms of coronavirus; (b) knowing

   and intentional decision to conceal from passengers that a passenger on the subject voyage had

   symptoms of coronavirus, and did not inform passengers until after the day the Costa Luminosa

   docked in Puerto Rico—the last chance passengers had to disembark before being stuck on the

   Costa Luminosa for a full week while sailing across the Atlantic Ocean with severely limited

   medical personnel and supplies; and (c) knowing and intentional decision to wait two days to order

   passengers to isolate in their staterooms after being informed that the passengers who disembarked

   in Puerto Rico with symptoms of coronavirus tested positive.




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                                     CLASS ACTION ALLEGATIONS

   49.    This action is brought by Plaintiff on his own behalf, and on behalf of all others similarly

   situated, under the provisions of Rule 23(a) and 23(b)(3) of the Federal Rules of Civil Procedure.

   50.    The class so represented by the Plaintiff in this action, and of which Plaintiff is a member,

   consists of all passengers aboard the Costa Luminosa cruises on February 24, 2020, and/or March

   5, 2020.

   51.    The class of passengers were subjected to severe distress both physical, psychological and

   emotional; endured pain and suffering, along with physical and emotional injury as a result of

   Defendant Costa’s negligence and/or gross negligence and/or intentional conduct.

   52.    The exact number of members of the class is unknown at this time, but it is estimated that

   there are in excess of 2000 members. The class is so numerous that joinder of all members is

   impracticable. This action satisfies the requirements of Rule 23(a)(1).

   53.    There are common questions of law and fact that relate to and effect the rights of each

   member of the class and the relief sought is common to the entire class. The same misconduct on

   the part of Defendant Costa caused the same or similar injury to each class member. All class

   members seek damages under the general maritime law of the United States for Intentional

   Infliction of Emotional Distress, Negligent Infliction of Emotional Distress and Negligence.

   Accordingly, this action satisfies the requirement of Rule 23(a)(2).

   54.    The claims of Plaintiff are typical of the claims of the class, in that the claims of all

   members of the class, including Plaintiff, depend upon a virtually identical showing of the acts and

   omissions of Defendant Costa, giving rise to the right of Plaintiff to the relief sought herein.

   Defendant Costa was at all times material hereto engaged in the same conduct to the detriment of

   the entire class of Plaintiffs. Accordingly, this action satisfies the requirements of Rule 23(a)(3).


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   55.    Plaintiff is the representative party for the class, and is able to, and will, fairly and

   adequately protect the interests of the class. There is no conflict between Plaintiff and other

   members of the class with respect to this action, or with respect to the claims for relief herein. The

   attorneys for Plaintiff are experienced and capable in the field of maritime claims for cruise ship

   passenger injury, including class actions, and have successfully represented claimants in other

   litigation of this nearly exact nature. Two of the attorneys designated as counsel for Plaintiff,

   Jason R. Margulies (Florida Bar Board Certified in Admiralty and Maritime Law) and Michael A.

   Winkleman, will actively conduct and be responsible for Plaintiff’s case herein. Accordingly, this

   action satisfies the requirement of Rule 23(a)(4).

   56.    This action is properly maintained as a class action under Rule 23(b)(3) inasmuch as

   questions of law and fact common to the members of the class predominate over any questions

   affecting only individual members, and a class action is superior to the other available methods for

   the fair and efficient adjudication of this controversy. In support of the foregoing, Plaintiff alleges

   that common issues predominate and can be determined on a class-wide basis regarding Costa’s

   failure to exercise reasonable care under the circumstances, by inter alia, (a) deciding to proceed

   with a transatlantic 20-day cruise on March 5, 2020, knowing at least one of its passengers from

   the prior voyage who disembarked February 29, 2020 had symptoms of coronavirus; (b) deciding

   to conceal from passengers that a passenger on the Costa Luminosa had symptoms of coronavirus,

   and did not inform passengers until after the day the Costa Luminosa docked in Puerto Rico—the

   last chance passengers had to disembark before being stuck on the Costa Luminosa for a full week

   while sailing across the Atlantic Ocean with severely limited medical personnel and supplies; and

   (c) deciding to wait two days to order passengers to isolate in their staterooms after being informed

   two days before that passengers who disembarked in Puerto Rico with symptoms of coronavirus


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   tested positive for such.

   57.    A class action is superior to other available methods for the fair and efficient adjudication

   of this controversy because it is unlikely that individual plaintiffs would assume the burden and

   the cost of this complex litigation, and Plaintiff is not aware of any class members who are

   interested in individually controlling the prosecution of a separate action. The interests of justice

   will be served by resolving the common disputes of the class members with Costa in a single

   forum, and individual actions by class members, many of whom are citizens of different states

   would not be cost effective. The class consists of a finite and identifiable number of individuals

   which will make the matter manageable as a class action.

   58.    Costa’s passenger ticket contract contains a provision which attempts to limit its

   passengers’ right to file their claims against Costa as a class action, but said provision is void

   because such an attempt by Costa to limit its liability to passengers violates 46 U.S.C. 30509.1 See

   Kornberg v. Carnival Cruise Lines, Inc., 741 F.2d 1332, 1335–36 (11th Cir. 1984). Additionally,

   the provision should be deemed null and void as Costa acted intentionally2 by exposing passengers

   to a highly contagious virus, which has no current confirmed vaccine nor effective treatment. This

   similar class waiver contractual provision has been upheld by other decisions in this district, but

   this action seeks, in good faith, the extension of modification of existing law. Importantly, the

   Eleventh Circuit Court of Appeals has not ruled on the enforceability of said contract.


   1
      § 30509(a)(1)(A) states: “The owner, master, manager, or agent of a vessel transporting
   passengers between ports in the United States, or between a port in the United States and a port in
   a foreign country, may not include in a regulation or contract a provision limiting [...] the liability
   of the owner, master, or agent for personal injury or death caused by the negligence or fault of the
   owner or the owner's employees or agents.”
   2
     “[C]ontractual exculpatory clauses absolve the exculpated party only from ordinary negligence
   and should not be construed to include loss or damage resulting from intentional or reckless
   misconduct, gross negligence, or the like.” In re New River Shipyard, Inc., 355 B.R. 894, 904
   (Bankr. S.D. Fla. 2006)

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                       COUNT I – NEGLIGENCE AGAINST ALL DEFENDANTS

          Plaintiff re-alleges, adopts, and incorporates by reference the allegations in paragraphs one

   (1) through fifty-eight (58) as though alleged originally herein and further alleges:

   59.    It was the duty of Defendant Costa to provide Plaintiff and all others similarly situated with

   reasonable care under the circumstances. Additionally, and/or Alternatively, Defendant Costa

   voluntarily assumed a heightened (or “highest”) duty of care to its passengers (See paragraph 18.).

   60.    Costa and/or its agents, servants, and/or employees breached its duty to provide Plaintiffs

   with reasonable care under the circumstances.

   61.    Plaintiff was injured due to the fault and/or negligence of Defendant Costa, and/or its

   agents, servants, and/or employees as follows:

              a. Failure to use reasonable care to provide and maintain a safe voyage for Paul

                  Turner and others similarly situated, fit with proper and adequate safety,

                  protection, cleaning products and equipment, especially during a known and

                  escalating, global pandemic of the coronavirus, and when a prior passenger

                  showed symptoms of the coronavirus, and care; and/or

              b. Failure to adequately warn passengers before boarding the vessel that a

                  passenger on a prior cruise showed symptoms of the coronavirus; and/or

              c. Failure to warn passengers of the dangers and risks of the coronavirus and/or

                  infectious disease, including, but not limited to, failing to inform the passengers of

                  the extent of the prior outbreaks and/or risks and/or symptoms; and/or

              d. Failure to adequately warn passengers before boarding the vessel that the

                  vessel’s medical facility, including the medical personnel, equipment, and

                  supplies, would not be able to adequately handle a coronavirus outbreak


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                onboard the Costa Luminosa, especially while crossing the Atlantic Ocean

                and knowing that countries are refusing the vessel’s entrance and passenger

                with symptoms to come onshore; and/or

            e. Failure to adequately warn passengers on the subject voyage aboard the Costa

                Luminosa that during the voyage a passenger showed symptoms of the

                coronavirus and/or came from an area (Italy) before boarding the vessel that

                was experiencing a massive outbreak of the coronavirus and placed on a

                lockdown by the government due to the severity of the coronavirus; and/or

            f. Failure to adequately examine a passenger’s and/or crewmember’s health condition

                before allowing them to board the vessel; and/or

            g. Failure to have adequate medical personnel during the boarding process to

                determine whether to allow boarding to passengers and/or crewmembers; and/or

            h. Failure to have adequate medical personnel to determine whether to allow boarding

                to passengers and/or crewmembers in accordance with CDC guidelines; and/or

            i. Failure to adequately sanitize and/or disinfect the vessel’s common areas and

                passenger’s cabin; and/or

            j. Failure to adequately sanitize and/or disinfect plates, cups, food trays, utensils, ice

                machines and drinking fountains; and/or

            k. Failure to quarantine passengers infected with the coronavirus, and/or, infectious

                disease, and/or virus and/or exhibiting symptoms of a virus and/or an infectious

                disease; and/or

            l. Failure to quarantine passengers and/or crewmembers infected with the

                coronavirus, and/or, infectious disease, and/or virus and/or exhibiting symptoms of


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                a virus and/or an infectious disease; and/or

            m. Failure to provide prompt, proper, and adequate medical treatment to passengers

                infected with the coronavirus, and/or, infectious disease, and/or virus and/or

                exhibiting symptoms of a virus and/or an infectious disease; and/or

            n. Failure to serve uncontaminated food; and/or

            o. Failing to practice safe and sanitary food practices; and/or

            p. Failure to adequately and properly eradicate the coronavirus or some other virus

                causing illness to passengers on the Costa Luminosa; and/or

            q. Failure to take adequate steps to prevent an outbreak of the coronavirus and/or virus

                and/or infectious disease when it knew or should have known that such outbreaks

                had occurred on prior cruise voyages; and/or

            r. Failure to take adequate medical precautions when a passenger is exhibiting

                symptoms of the coronavirus and/or virus and/or infectious disease so that it can be

                timely diagnosed; and/or

            s. Failure to perform testing on ill passengers to confirm the type and nature of the

                virus; and/or

            t. Failure to have adequate policies and procedures in place to manage and contain

                the outbreak and spread of the coronavirus and/or virus and/or infectious disease;

                and/or

            u. Failure to provide a sanitary vessel to prevent outbreaks of the coronavirus and/or

                virus and/or infectious diseases, including, but not limited to, inadequate and/or

                ineffective cleaning/sanitary procedures and/or lack of equipment and supplies;

                and/or


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            v. Failure to take adequate steps to contain the spread of the coronavirus and/or

                virus and/or infectious diseases, which it knew or should have known could

                cause other dangerous medical conditions; and/or

            w. Knowingly refusing to cancel and/or offer refunds to passengers as a result

                of a passenger on a prior cruise showing symptoms of coronavirus and having

                to be medically disembarked; and/or

            x. Failing to have proper policies and procedures in place to determine whether

                to offer refunds as a result of the risk of exposing passengers and crew to the

                highly contagious coronavirus due to a passenger on a prior cruise showing

                symptoms of coronavirus; and/or

            y. Failing to cancel the voyage and/or offer refunds despite knowing a passenger

                on a prior voyage showed symptoms of the coronavirus and despite knowing

                that multiple prior similarly situated voyages ended in widely publicized

                catastrophe; and/or

            z. Failure to reasonably offer refunds to passengers not wishing to travel on a

                vessel that had a passenger from a previous voyage showing symptoms of the

                coronavirus; and/or

            aa. Exposing passengers to unsanitary conditions that they were unprepared for

                without proper warning from Costa; and/or

            bb. Failure to provide adequate training, instruction, and supervision to the Costa

                employees; and/or

            cc. Failure to promulgate and/or enforce adequate policies and procedures to

                ensure that safety would not be compromised for cost and/or profits; and/or


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              dd. Failure to promulgate policies and/or procedures aimed at ensuring an

                  adequate emergency plan to protect the health and welfare of passengers

                  during an outbreak of a virus and/or infectious disease, including , but not

                  limited to, the coronavirus; and/or

              ee. Failure to determine and/or appreciate the hazards associated with allowing

                  passengers to congregate within close distances, including within six feet, in

                  common areas of the vessel; and/or

              ff. Knowing, as a result of previous similar incidents and/or passengers showing

                  symptoms of the coronavirus, of the likelihood of a threat to passenger safety

                  resulting from all of the above, yet failing to take corrective action and/or

                  implement policies and procedures aimed at preventing and/or mitigating the

                  harmful effects of the of the subject incident; and /or

              gg. Failure to amend its cancellation policy to allow the passengers to cancel their

                  cruise without financial penalty in light of a passenger from a previous

                  voyage showing symptoms of the coronavirus and/or the significant actual

                  risk due to the coronavirus global pandemic;

              hh. Other acts or omissions constituting a breach of the duty to use reasonable

                  care under the circumstances which are revealed through discovery.

   62.    The above acts and/or omissions caused and/or contributed to Plaintiff and others similarly

   situated contracting the coronavirus and/or other virus and/or medical complications arising from

   it because the Plaintiff and others similarly situated would not have boarded the vessel knowing

   that a passenger on the prior voyage was disembarked for symptoms of the coronavirus had

   Defendant and/or its agents, servants and/or employees adequately warned and/or communicated


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   the foregoing to Plaintiff and others similarly situated.

   63.    In addition, the above acts and/or omissions caused and/or contributed to Plaintiff and

   others similarly situated contracting the coronavirus and/or other virus and/or medical

   complications arising from it because the Plaintiff and others similarly situated would have

   disembarked the vessel in Puerto Rico knowing that a passenger on the subject voyage was

   disembarked in Puerto Rico for symptoms of the coronavirus had Defendant and/or its agents,

   servants and/or employees adequately warned and/or communicated the foregoing to Plaintiff and

   others similarly situated.

   64.    The above acts and/or omissions caused and/or contributed to the Plaintiff and others

   similarly situated contracting the coronavirus and/or other virus and/or medical complications

   arising from it because the coronavirus and/or other virus outbreak would not have occurred but

   for Defendant’s failure to adequately sanitize the vessel in a reasonably safe condition.

   65.    At all material times, Defendant Costa had exclusive custody and control of the vessel,

   Costa Luminosa.

   66.    Defendant knew of the foregoing conditions causing Plaintiff and others similarly situated

   to be exposed to an actual risk of physical injury and did not correct them, or the conditions existed

   for a sufficient length of time so that Defendant in the exercise of reasonable care under the

   circumstances should have learned of them and corrected them.

   67.    As a result of the negligence of Costa, Plaintiff and others similarly situated were:

              a.   exposed to an actual risk of the physical injury, which caused severe mental and

                   emotional anguish with physical manifestations of that mental and emotional

                   anguish including, but not limited to, sickness, nausea, exhaustion, fatigue,

                   headaches, insomnia, lack of sleep, poor sleep, nightmares, and respiratory


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                  difficulties; and/or

              b. contracted the coronavirus and/or virus and/or suffered medical complications

                  arising from it and were injured about their body and extremities, suffered both

                  physical pain and suffering, mental and emotional anguish, loss of enjoyment of

                  life, temporary and/or permanent physical disability, impairment, inconvenience in

                  the normal pursuits and pleasures of life, feelings of economic insecurity,

                  disfigurement, aggravation of any previously existing conditions therefrom,

                  incurred medical expenses in the care and treatment of their injuries including life

                  care, suffered physical handicap, lost wages, income lost in the past, and their

                  working ability and earning capacity has been impaired. The injuries and damages

                  are permanent or continuing in nature, and Plaintiff and others similarly situated

                  will suffer the losses and impairments in the future.

          WHEREFORE, the Plaintiff and others similarly situated demand judgment for all

   damages recoverable under the law against the Defendant, including punitive damages, and

   demands trial by jury.

            COUNT II – NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

                                    AGAINST ALL DEFENDANTS

          Plaintiff re-alleges, adopts, and incorporates by reference the allegations in paragraphs

   one (1) through fifty- eight (58) as though alleged originally herein and further allege:

   68.    At all times material, due to the negligence and/or gross negligence and/or intentional

   conduct of the Defendant, Plaintiff and all others similarly situated were placed in an immediate

   risk of physical harm. Said risk of physical harm included but is not limited to: contracting the

   coronavirus and/or virus and/or medical complications arising from it and/or injury and/or death


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   and/or severe emotional and/or psychological trauma.

   69.    Defendant’s negligence and/or gross negligence and/or intentional conduct caused severe

   mental and/or emotional harm and/or distress in the Plaintiff and all others similarly situated, such

   as fear and anxiety. These emotional injuries and/or damages have also resulted in physical

   manifestations, such as sickness, nausea, exhaustion, fatigue, headaches, insomnia, lack of sleep,

   poor sleep, nightmares, and respiratory difficulties.

   70.    Plaintiff and those similarly situated was/were forced to remain on a vessel that had

   multiple passengers that tested positive of coronavirus and were on the vessel for multiple days,

   and were then forced to disembark the vessel in tight groups, creating a an actual risk of exposure

   to coronavirus, causing a reasonable fear of great bodily harm and death. At all times material, all

   similarly effected passengers were in the zone of danger at risk of serious bodily harm, including

   death due to, inter alia, the highly contagious coronavirus, which had and has no vaccine.

   71.    Plaintiff and those similarly situated ticketed aboard the Costa Luminosa were placed in

   the zone of danger as a result of Costa’s dangerously lackadaisical approach in dealing with the

   coronavirus that was known to be on board the vessel via passengers that tested positive for the

   coronavirus. Each Plaintiff was in close proximity to conditions which did cause or could have

   caused serious physical, mental and/or emotional injury and/or illness.

   72.    Plaintiff’s and others similarly situated fear of death and experience of mental, emotional

   and/or physical harm was genuine and well founded and Plaintiff and others similarly situated

   suffered mental or emotional harm (such as fright and anxiety) that was caused by the negligence

   of Costa. This fright and anxiety has further manifested itself as multiple physical symptoms

   experienced by the Plaintiff and others similarly situated, including but not limited to insomnia,

   depression, anxiety, nightmares, and dizziness.


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      73. As a result of the negligent inflection of emotional distress by Costa, Plaintiff and others

         similarly situated were:

             a.   exposed to an actual risk of the physical injury, which caused severe mental and

                  emotional anguish with physical manifestations of that mental and emotional

                  anguish including, but not limited to, sickness, nausea, exhaustion, fatigue,

                  headaches, insomnia, lack of sleep, poor sleep, nightmares, and respiratory

                  difficulties; and/or

             b. contracted the coronavirus and/or virus and/or suffered medical complications

                  arising from it and were injured about their body and extremities, suffered both

                  physical pain and suffering, mental and emotional anguish, loss of enjoyment of

                  life, temporary and/or permanent physical disability, impairment, inconvenience in

                  the normal pursuits and pleasures of life, feelings of economic insecurity,

                  disfigurement, aggravation of any previously existing conditions therefrom,

                  incurred medical expenses in the care and treatment of their injuries including life

                  care, suffered physical handicap, lost wages, income lost in the past, and their

                  working ability and earning capacity has been impaired. The injuries and damages

                  are permanent or continuing in nature, and Plaintiff and others similarly situated

                  will suffer the losses and impairments in the future.

         WHEREFORE, the Plaintiff and others similarly situated demand judgment for all

         damages recoverable under the law against the Defendant, including punitive damages, and

         demands trial by jury.




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    COUNT III – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS AGAINST

                                          ALL DEFENDANTS

          Plaintiffs re-allege, adopt, and incorporate by reference the allegations in paragraphs one

   (1) through fifty-eight (58) as though alleged originally herein and further allege:

   74.    As set forth above, the actions of Costa were intentional or reckless and inflicted mental

   suffering. Costa’s conduct in (a) deciding to proceed with a transatlantic 20-day cruise on March

   5, 2020, knowing at least one of its passengers from the prior voyage who disembarked February

   29, 2020 had symptoms of coronavirus; (b) deciding to conceal from passengers that a passenger

   on the subject voyage had symptoms of coronavirus, and did not inform passengers until after the

   day the Costa Luminosa docked in Puerto Rico—the last chance passengers had to disembark

   before being stuck on the Costa Luminosa for a full week while sailing across the Atlantic Ocean

   with severely limited medical personnel and supplies; and (c) deciding to wait two days to order

   passengers to isolate in their staterooms after being informed two days before that passengers who

   disembarked in Puerto Rico with symptoms of coronavirus tested positive for such, was

   outrageous. This conduct is made more outrageous by the fact that this conduct was motivated by

   Costa’s desire to make profit rather than ensure the reasonable safety and welfare of its passengers.

   75.    Costa’s conduct caused the Plaintiff and others similarly situated, and all those similarly

   situated, to suffer through the fearful conditions alleged above.

   76.    All of the conditions previously alleged and endured by the Plaintiff and others similarly

   situated caused severe suffering and emotional distress as these conditions not only led to

   immediate risk of physical harm but also caused severe discomfort, anxiety, feelings of

   helplessness/hopelessness as the passengers battled the violent storm.




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   77.      The conduct of Costa as alleged above is so outrageous in character, and so extreme in

   degree, as to go beyond all possible bounds of decency, and to be regarded as atrocious, and utterly

   intolerable in a civilized community. Put simply, Costa recklessly and intentionally put thousands

   of its passengers through a living nightmare so it could protect its bottom line.

         78. As a result of the intentional inflection of emotional distress by Costa, Plaintiff and all

            those similarly situated were:

                a.   exposed to an actual risk of the physical injury, which caused severe mental and

                     emotional anguish with physical manifestations of that mental and emotional

                     anguish including, but not limited to, sickness, nausea, exhaustion, fatigue,

                     headaches, insomnia, lack of sleep, poor sleep, nightmares, and respiratory

                     difficulties; and/or

                b. contracted the coronavirus and/or virus and/or suffered medical complications

                     arising from it and were injured about their body and extremities, suffered both

                     physical pain and suffering, mental and emotional anguish, loss of enjoyment of

                     life, temporary and/or permanent physical disability, impairment, inconvenience in

                     the normal pursuits and pleasures of life, feelings of economic insecurity,

                     disfigurement, aggravation of any previously existing conditions therefrom,

                     incurred medical expenses in the care and treatment of their injuries including life

                     care, suffered physical handicap, lost wages, income lost in the past, and their

                     working ability and earning capacity has been impaired. The injuries and damages

                     are permanent or continuing in nature, and Plaintiff and others similarly situated

                     will suffer the losses and impairments in the future.




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          WHEREFORE, the Plaintiff and others similarly situated demand judgment for all

   damages recoverable under the law against the Defendant, including punitive damages, and

   demands trial by jury.

                COUNT IV - MISLEADING ADVERTISING IN VIOLATION OF

                                     FLORIDA STATUTE § 817.41

          Plaintiff re-alleges, adopts, and incorporates by reference the allegations in paragraphs one

   (1) through fifty-eight (58) as though alleged originally herein and further alleges:

      79. On March 4, 2020, Costa made representations via email to prospective passengers which

          represented to prospective passengers that, with regard to COVID-19, Costa would “make

          the most appropriate decisions and put in place the most adequate measures to be sure that

          the highest level of safety for its guests and crewmembers are met” (see paragraph 18).

      80. In Costa’s March 4, 2020 email to prospective passengers, Costa misrepresented the

          following:

              a. That Costa would make the most appropriate decisions regarding COVID-19;

                  and/or

              b. That Costa would put in place the most adequate measures regarding COVID-19;

                  and/or

              c. That Costa would ensure that the highest level of safety for its guests and

                  crewmembers are met regarding COVID-19.

      81. Pursuant to Florida Statute § 817.41(4), Costa is responsible for the foregoing false and/or

          misleading advertisements because Costa was named in and/or obtained the benefits of the

          statements and/or advertisements.




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      82. At all times material hereto, the foregoing statements Costa made and/or disseminated were

         known, or through the exercise of reasonable care or investigation could or might have

         been ascertained, to be false and/or misleading.

      83. At all times material hereto, the statements were so made or disseminated by Costa with

         the intent or purpose, either directly or indirectly, of inducing passengers to rely on the

         statements and act by purchasing tickets and/or going on the subject cruise on March 5,

         2020.

      84. At all times material hereto, Plaintiff justifiably relied on the representations made by Costa

         when Plaintiff decided to board the Costa Luminosa on March 5, 2020.

      85. As a result thereof, Plaintiff and others similarly situated were:

             a.   exposed to an actual risk of the physical injury, which caused severe mental and

                  emotional anguish with physical manifestations of that mental and emotional

                  anguish including, but not limited to, sickness, nausea, exhaustion, fatigue,

                  headaches, insomnia, lack of sleep, poor sleep, nightmares, and respiratory

                  difficulties; and/or

             b. contracted the coronavirus and/or virus and/or suffered medical complications

                  arising from it and were injured about their body and extremities, suffered both

                  physical pain and suffering, mental and emotional anguish, loss of enjoyment of

                  life, temporary and/or permanent physical disability, impairment, inconvenience in

                  the normal pursuits and pleasures of life, feelings of economic insecurity,

                  disfigurement, aggravation of any previously existing conditions therefrom,

                  incurred medical expenses in the care and treatment of their injuries including life

                  care, suffered physical handicap, lost wages, income lost in the past, and their


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                  working ability and earning capacity has been impaired. The injuries and damages

                  are permanent or continuing in nature, and Plaintiff and others similarly situated

                  will suffer the losses and impairments in the future.

          WHEREFORE, the Plaintiff and others similarly situated demand judgment for all

   damages recoverable under the law against the Defendant, including punitive damages, and

   demands trial by jury.

                        COUNT V - NEGLIGENT MISREPRESENTATION

          Plaintiff re-alleges, adopts, and incorporates by reference the allegations in paragraphs one

   (1) through fifty-eight (58) as though alleged originally herein and further alleges:

      86. On March 4, 2020, Costa made representations via email to prospective passengers which

          represented to prospective passengers that, with regard to COVID-19, Costa would “make

          the most appropriate decisions and put in place the most adequate measures to be sure that

          the highest level of safety for its guests and crewmembers are met” (see paragraph 18).

      87. In Costa’s March 4, 2020 email to prospective passengers, Costa misrepresented the

          following:

              a. That Costa would make the most appropriate decisions regarding COVID-19;

                  and/or

              b. That Costa would put in place the most adequate measures regarding COVID-19;

                  and/or

              c. That Costa would ensure that the highest level of safety for its guests and

                  crewmembers are met regarding COVID-19.




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      88. At all times material hereto, the foregoing statements Costa made and/or disseminated were

         known, or through the exercise of reasonable care or investigation could or might have

         been ascertained, to be false and/or misleading.

      89. At all times material hereto, Plaintiff justifiably relied on the representations made by Costa

         when Plaintiff decided to board the Costa Luminosa on March 5, 2020.

      90. As a result thereof, Plaintiff and others similarly situated were:

             a.   exposed to an actual risk of the physical injury, which caused severe mental and

                  emotional anguish with physical manifestations of that mental and emotional

                  anguish including, but not limited to, sickness, nausea, exhaustion, fatigue,

                  headaches, insomnia, lack of sleep, poor sleep, nightmares, and respiratory

                  difficulties; and/or

             b. contracted the coronavirus and/or virus and/or suffered medical complications

                  arising from it and were injured about their body and extremities, suffered both

                  physical pain and suffering, mental and emotional anguish, loss of enjoyment of

                  life, temporary and/or permanent physical disability, impairment, inconvenience in

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                  incurred medical expenses in the care and treatment of their injuries including life

                  care, suffered physical handicap, lost wages, income lost in the past, and their

                  working ability and earning capacity has been impaired. The injuries and damages

                  are permanent or continuing in nature, and Plaintiff and others similarly situated

                  will suffer the losses and impairments in the future.




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          WHEREFORE, the Plaintiff and others similarly situated demand judgment for all

   damages recoverable under the law against the Defendant, including punitive damages, and

   demands trial by jury.




   DATED April 7, 2020


                                                               Respectfully submitted,

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